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      Mixtiles Terms of Service

      Here’s an overview of our terms. We highly recommend that you read our complete legal
      information below, because that's the one that really counts. (Plus, who doesn't enjoy reading a
      good, long Terms of Service now and again?) If you just want the highlights – or spoilers, as the legal
      team likes to think of them – here are a few of the most important bits, in plain English.

              Any disputes must be resolved by arbitration. Under the Arbitration Agreement set forth
              below, any claims that you may have against Mixtiles or that Mixtiles may have against you
              shall solely be adjudicated in an arbitration proceeding under the auspices of the American
              Arbitration Association (AAA).

              You still own all the pictures you order from us. You keep the copyright to all of your images.
              We won’t sell them, share them, or use them for anything other than getting your tiles printed
              and delivered to you.

              We need access to your photo gallery to show you your pictures in the Mixtiles app. When
              you open our app for the first time, it’ll ask you for permission to access your photos. We need
              that so we can let you select, crop, and order your pics in our app. If you want, you can turn
              that permission off in your settings later or delete the app to remove the permission.

              If you want, we’ll delete all your pictures and personal data from our systems. All you need
              to do is send us an email to hi@mixtiles.com from the email address you entered when you
              made your order.

              You agree not to order any pictures you don’t own, or any pornography or discriminatory
              content. There are lots of people involved in the printing process, so we can’t print any images
              with nudity or offensive content. We also can’t print pictures that you don’t have the right to
              use. If you do send us a picture that doesn't belong to you and we are sued by the rightful
              owner, you'll be responsible for all related costs.

              If there’s a problem with your tiles or if there are any other issues, just send us an email
              to hi@mixtiles.com or a chat through the app. We’ll do our best to get it all sorted out.

      The Actual Terms of Service

      Mixtiles (as defined below) allows users to upload images and/or pictures ("Images") to our
      website ("Site") or, to the extent applicable, our mobile application (together with the Site, "App")
      in order to (1) print those Images on a wall tile ("Tile(s)"), or (2) receive our “Moments by Mixtiles”
      product offering (“Moments” and, together with the Tiles, collectively, the “Products”).

      If you are a user from the European Union you are contracting with Mixtiles B.V., if you are a user in
      the US, you are contracting with Mixtiles USA, Inc., and if you are a user from anywhere else, you are


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      contracting with Mixtiles Ltd., a company incorporated in the State of Israel with registration
      number 515362044 (collectively "Mixtiles", "us", "our", or "we").

      These Terms of Service ("Terms") govern your access to and use of the App and services available
      through the App ("Services"). Our Privacy Notice, available at https://mixtiles.com/privacy-
      notice, governs our collection, processing and transfer of any Personal Data (as such term is
      defined in the Privacy Notice). "You" means any adult user of the App or Services or any parent or
      guardian of any minor whom you allow to use the App or the Services, and for whom you will be held
      strictly responsible.

      Please read these Terms carefully. By clicking on the button marked "I agree" you signify your assent
      to these Terms. Changes may be made to these Terms from time to time. If you do not agree to any
      of these Terms, please do not click the button marked "I agree", and do not use the App or Services.

            1. Dispute Resolution; Arbitration; Class Action Waiver; and Arbitration Agreement

              Please read this section carefully. It affects your rights. It requires you to arbitrate disputes
              with Mixtiles and limits the manner in which you may seek relief. It further provides that you
              waive your rights to try any claim in court before a judge or jury and to bring or participate
              in any class, collective, or other representative action. This section of the Terms shall be
              referred to as the “ARBITRATION AGREEMENT.”

              We will try work in good faith to resolve any issue you have with our Site, App and Products
              that are ordered or purchased through either our Site or App, if you bring that issue to the
              attention of our customer service department. However, we realize that there may be rare
              cases where we may not be able to resolve an issue to a customer's satisfaction.

              You and Mixtiles agree that any dispute, claim or controversy arising out of or relating in any
              way to these Terms or your use of our Site, App and/or Products ordered or purchased
              through our Site/App shall be determined solely by binding arbitration on an individual basis
              rather than court, except that you may assert claims in small claims court if your claims
              qualify, so long as the matter remains in such court and advances only on an individual (non-
              class, non-representative) basis.

              Arbitration is more informal than bringing a lawsuit in court. Arbitration uses a neutral
              arbitrator instead of a judge or jury and is subject to very limited review by courts. Arbitration
              allows for more limited discovery than in court, however, we agree to cooperate with each
              other to agree to reasonable discovery in light of the issues involved and amount of the claim.
              Arbitrators can award the same damages and relief that a court can award, but in so doing,
              the arbitrator shall apply substantive law regarding damages as if the matter had been
              brought in court, including without limitation, the law on punitive damages as applied by the
              United States Supreme Court. You agree that, by agreeing to these Terms, the U.S. Federal
              Arbitration Act governs the interpretation and enforcement of this provision, and that you and
              Mixtiles are each waiving the right to a trial by jury or to participate in a class action. This
              arbitration provision shall survive termination of these Terms and any other contractual
              relationship between you and Mixtiles.



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              BY AGREEING TO ARBITRATION WITH MIXTILES, YOU ARE AGREEING IN ADVANCE THAT YOU
              WILL NOT PARTICIPATE IN OR SEEK TO RECOVER MONETARY OR OTHER RELIEF IN ANY
              CLASS, COLLECTIVE, AND/OR REPRESENTATIVE LAWSUIT. INSTEAD, BY AGREEING TO
              ARBITRATION, YOU MAY BRING CLAIMS AGAINST MIXTILES (INCLUDING, WITHOUT
              LIMITATION, THE SITES) ONLY IN AN INDIVIDUAL ARBITRATION PROCEEDING.

              If you desire to assert a claim against Mixtiles, and you therefore elect to seek arbitration, you
              must first send to Mixtiles, by e-mail, a notice of your claim ("Notice"). The Notice to Mixtiles
              should be addressed to: legal@Mixtiles.com ("Notice Address") and should state in the
              “subject line” of the e-mail “LEGAL NOTICE” in all capital letters. If Mixtiles desires to assert a
              claim against you and therefore elects to seek arbitration, it will send, by certified mail, a
              written Notice to the most recent address we have on file or otherwise in our records for you. A
              Notice, whether sent by you or by Mixtiles, must (a) describe the nature and basis of the claim
              or dispute; and (b) set forth the specific relief sought ("Demand"). If Mixtiles and you do not
              reach an agreement to resolve the claim within 60 days after the Notice is received, you or
              Mixtiles may commence an arbitration proceeding or file a claim in small claims court. During
              the arbitration, the amount of any settlement offer made by Mixtiles or you shall not be
              disclosed to the arbitrator. You may download or copy a form Notice and a form to initiate
              arbitration from the American Arbitration Association at www.adr.org. The arbitration will be
              governed by the Commercial Arbitration Rules and the Supplementary Procedures for
              Consumer Related Disputes (collectively, "AAA Rules") of the American Arbitration
              Association ("AAA"), as modified by these Terms of Use, and will be administered by the AAA.
              The AAA Rules and Forms are available online at www.adr.org, by calling the AAA at 1-800-
              778-7879, or by requesting them from us by writing to us at the Notice Address. The arbitrator
              is bound by the terms of these Terms of Use. All issues are for the arbitrator to decide,
              including issues relating to the scope and enforceability of these Terms, including this
              ARBITRATION AGREEMENT. Unless Mixtiles and you agree otherwise in writing, any
              arbitration hearings will take place in the county (or parish) of your billing address. If you
              reside outside of the United States, any arbitration hearings will either take place remotely or
              in Israel, but will remain subject to the AAA Rules including the AAA rules regarding the
              selection of an arbitrator.

              If your claim is for US$10,000 or less, we agree that you may choose whether the arbitration
              will be conducted solely on the basis of documents submitted to the arbitrator, through a
              telephonic hearing, or by an in-person hearing as established by the AAA Rules. If your claim
              exceeds US$10,000, the right to a hearing will be determined by the AAA Rules. Regardless of
              the manner in which the arbitration is conducted, the arbitrator shall issue a reasoned written
              decision sufficient to explain the essential findings and conclusions on which the award is
              based. If the arbitrator issues you an award that is greater than the value of Mixtiles’ last
              written settlement offer made before an arbitrator was selected (or if Mixtiles did not make a
              settlement offer before an arbitrator was selected), then Mixtiles will pay you the amount of
              the award or US$1,000, whichever is greater. Except as expressly set forth herein, the
              payment of all filing, administration and arbitrator fees will be governed by the AAA Rules.

              Each party shall pay for its own costs and attorneys' fees, if any. However, if any party prevails
              on a statutory claim that affords the prevailing party attorneys' fees, or if there is a written


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              agreement providing for payment or recovery attorneys’ fees, the arbitrator may award
              reasonable fees to the prevailing party, under the standards for fee shifting provided by law.

              YOU AND MIXTILES AGREE THAT EACH MAY BRING CLAIMS AGAINST THE OTHER ONLY IN
              YOUR OR ITS INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY
              PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. Further, the arbitrator may not
              consolidate more than one person's claims with your claims, and may not otherwise preside
              over any form of a representative or class proceeding. The arbitrator may award declaratory
              or injunctive relief only in favor of the individual party seeking relief and only to the extent
              necessary to provide relief warranted by that party's individual claim.

              These Terms shall be governed solely by the laws of the State of Israel, except that in the
              event of a conflict between the laws of the State of Israel and the AAA Rules, the AAA Rules
              shall supersede in respect of any arbitration carried out between the parties hereto.

              If this AGREEMENT TO ARBITRATE provision is found to be unenforceable, then (a) the entirety
              of this arbitration provision shall be null and void, but the remaining provisions of these Terms
              shall remain in full force and effect; and (b) exclusive jurisdiction and venue for any claims will
              be in the state or federal courts located in and for the State of Delaware.

           2. Use of the Services

              Use of the Services and access to the App is void where prohibited. By using the Services, you
              represent and warrant that (a) all information you submit is truthful and accurate; (b) you are
              18 years of age or older or have your parent's or guardian's permission to enter into these
              Terms, and (c) have the ability to form a binding contract; (d) your use of the App or Services
              does not violate any applicable law or regulation or any obligation you may have to a third
              party; (e) your use of the App and Services shall be in compliance with all applicable laws
              and regulations; (f) you are solely responsible for obtaining the consent of the parent or
              guardian ("Parental Consent") before transferring us any information, including images, of
              any children.

              Certain categories of Personal Data are subject to special protections under Regulation
              2016/679 of the European Parliament and of the Council of 27 April 2016 (General Data
              Protection Regulation, hereafter "GDPR"). These include Personal Data relating to among
              others, a person's racial origin, religious beliefs, health, sexual orientation, listed in Article 9 of
              the GDPR ("Special Categories of Data") and Personal Data related to children (together
              with Special Categories of Data, "Sensitive Data"). You hereby represent and warrant that
              you will not add any Images that contain Sensitive Data unless you have obtained explicit
              consent if and as required under applicable law from the relevant individual (including
              Parental Consent if and as required) and that you shall be solely responsible and liable for any
              such Sensitive Data, including in the event of any data breach relating to the Services.

              You may use the App and the Services in accordance with and subject to these Terms.
              Mixtiles may change, update, or discontinue certain parts of the App or the Services. These
              changes would not apply to any outstanding orders and we'll make an effort to notify you of
              any fundamental changes, including by way of notice in the App.


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              In order to use the App, you will be required to provide certain information as may be
              requested by Mixtiles.

              You may have the option to link the App with certain third-party services, as may be listed in
              the App from time to time, such as your Facebook, Google Photos, or Instagram account
              ("Linked Account"). By doing so, you represent and warrant that you have the authority to
              provide Mixtiles with access to account information related to such Linked Account, and to
              provide Mixtiles with access to photos or pictures saved in such Linked Account.

              You are fully and solely responsible for the security of your computer system and/or mobile
              phone and/or other device and all of your activity on the App. We do not police for and
              cannot guarantee that we will learn of or prevent any inappropriate use of the App.

              Subject to applicable law, Mixtiles may, for any reason, at its sole discretion and without
              notice, discontinue or refuse to provide you with the App or Services. Grounds for such refusal
              may include but are not limited to (i) violation of the letter or spirit of these Terms, (ii)
              fraudulent, harassing or abusive behavior, (iii) behavior that is illegal or harmful to other users,
              third parties, or the business interests of Mixtiles, breach of your representations and
              warranties herein or breach of any of the terms of these Terms, or (v) use of your chargeback
              rights with your credit card company or denial or dispute of any preapproval obtained by
              Mixtiles from your credit card company.

              If we believe, at our sole discretion, that a violation of these Terms or any illegal or
              inappropriate behavior has occurred, we may take any other corrective action we deem
              appropriate. We reserve the right to investigate suspected violations of these Terms or illegal
              and inappropriate behavior on the App. We will fully cooperate with any law enforcement
              investigation or court order requesting or directing us to disclose the identity, behavior or
              (User) Content (as defined below) of anyone believed to have violated these Terms or to
              have engaged in illegal behavior in connection with the App and/or the Services.

              Any suspension, termination, or cancellation of Services shall not affect your obligations to
              Mixtiles under these Terms (including but not limited to ownership, indemnification, limitation
              of liability and payment obligation), nor will it affect any other terms herein, which by their
              sense and context are intended to survive such suspension, termination, or cancellation.

           3. Account Registration

              To utilize and benefit from the Products, you may choose to register for an account (an
              “Account”), to the extent you are purchasing Tiles and you must register for an account to
              subscribe for Moments. Accounts will be based on either your social logins (Facebook /
              Google) or your email and then you’ll receive a one-time, unique passcode each time you log
              into your Account. You must provide accurate and complete information and keep your
              Account information updated. You are responsible for maintaining the confidentiality of your
              Account and other User Content (as defined below) and for restricting access to your
              device(s) which are used to access the Services including but not limited to computers, smart
              phones and tablets. You are responsible for updating your User Content.



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              You shall not: (i) select or use as a username an email of another person with the intent to
              impersonate that person; (ii) use as a username an email subject to any rights of a person
              other than you without appropriate authorization; or (iii) use any email that is otherwise
              offensive, vulgar or obscene. You are solely responsible for the activity that occurs on your
              Account secure. You may never use another person’s Account or registration information for
              the Services without permission. You must notify us immediately of any change in your
              eligibility to use the Services, breach of security or unauthorized use of your Account. You
              should never publish, distribute or post login information for your Account.

              In the course of your use of the Services, you may be asked to provide certain User Content.
              Our information collection and use policies with respect to the privacy of such User Content
              are set forth in our Privacy Policy. You acknowledge and agree that you are solely responsible
              for the accuracy and content of User Content, and you agree to keep it up to date.

              By registering for an Account and the Services, you warrant that: (i) You are legally capable of
              entering into binding contracts; (ii) All registration information you submit is truthful and
              accurate; (iii) You will maintain the accuracy of such information; and (iv) Your use of the
              Services does not violate any applicable law or regulation.

              As an Account holder you may receive access to certain sections, features and functions of
              the Services that are not available to non-Account holders. By opening an Account you may
              receive occasional special offer, marketing, and survey communication emails with respect to
              the Services. You can easily unsubscribe from Mixtiles commercial emails by following the
              opt-out instruction in these emails.

           4. Content and User Content

              Certain types of content may be made available through the App or the Services. "Content"
              as used in these Terms means, collectively, all content on or made available on the App or
              through the Services, including any images, photos, pictures, and any modifications or
              derivatives of the foregoing.

              The App may allow you to upload certain content including but not limited to Images and
              photos. All content uploaded by you is referred to as "User Content." User Content may
              include Sensitive Data. You are and shall remain at all times fully and solely responsible for any
              User Content you upload to the App. YOU REPRESENT AND WARRANT THAT ANY SUCH USER
              CONTENT COMPLIES WITH ALL APPLICABLE LAW, THAT YOU HAVE ALL NECESSARY RIGHTS
              AND AUTHORITIES TO SUBMIT ANY SUCH USER CONTENT THROUGH THE APP AND
              SERVICES, AND THAT NO SUCH USER CONTENT INFRINGES OR VIOLATES ANY THIRD PARTY
              INTELLECTUAL PROPERTY RIGHTS, PRIVACY OR PUBLICITY RIGHTS, OR MORAL RIGHTS.
              YOU FURTHER REPRESENT AND WARRANT THAT YOU HAVE OBTAINED ALL RIGHTS AS
              REQUIRED UNDER APPLICABLE LAW, TO PROVIDE MIXTILES WITH SENSITIVE DATA FOR THE
              PURPOSE OF PROCESSING SUCH SENSITIVE DATA IN ACCORDANCE WITH THESE TERMS
              AND OUR PRIVACY NOTICE AND THAT YOU HAVE OBTAINED CONSENT, IN ACCORDANCE
              WITH APPLICABLE LAW, FROM ANY DATA SUBJECT OR PARENT OR GUARDIAN OF DATA
              SUBJECT, AS APPLICABLE, WHOSE DATA, INCLUDING SENSITIVE DATA, IS SUBMITTED
              THROUGH THE APP AND SERVICES. Mixtiles has no obligation to accept any request to print
              or maintain any User Content. Moreover, Mixtiles reserves the right to remove and
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              permanently delete any User Content uploaded by you, without notice and for any reason.
              WE DO NOT ENDORSE ANY CONTENT (INCLUDING WITHOUT LIMITATION ANY USER
              CONTENT) OR ANY OPINION, RECOMMENDATION, OR ADVICE EXPRESSED IN ANY
              CONTENT, AND WE EXPRESSLY DISCLAIM ANY AND ALL LIABILITY IN CONNECTION WITH
              CONTENT.

              WE DISCLAIM ALL LIABILITY, REGARDLESS OF THE FORM OF ACTION, FOR THE ACTS OR
              OMISSIONS OF USERS (INCLUDING UNAUTHORIZED USERS) THAT ARE NOT DUE TO
              MIXTILES'S GROSS NEGLIGENCE OR WILLFUL MISCONDUCT, WHETHER SUCH ACTS OR
              OMISSIONS OCCUR DURING THE USE OF THE SERVICE OR OTHERWISE.

              Mixtiles may retain the User Content, including Images (including in your Account as your
              order history) as long as your Account is valid and has not been terminated by you or by us,
              for any reason. You may ask us to delete any User Content, including Images, by sending us an
              email, specifying your request, as detailed in our Privacy Notice. Any Images uploaded by you
              to the Services and not elected by you to be printed on Products will be automatically deleted
              after thirty (30) days from the day you have uploaded the Image(s).

           5. User Content Restrictions

              Without limiting the foregoing, you agree that you will not transmit, submit or upload any User
              Content or act in any way that: (a) restricts or inhibits use of the App and/or Services; (b)
              violates the legal rights of others; (c) infringes (or results in the infringement of) the
              intellectual property, moral, publicity, privacy, or other rights of any third party; (d) is (or you
              reasonably believe or should reasonably believe to be) stolen, illegal, counterfeit, fraudulent,
              pirated, unauthorized, or violent, or in furtherance of any illegal, counterfeiting, fraudulent,
              pirating, unauthorized, or violent activity, or that involves (or you reasonably believe or should
              reasonably believe to involve) any stolen, illegal, counterfeit, fraudulent, pirated, or
              unauthorized material; (e) does not comply with all applicable laws, rules and regulations; (f)
              imposes an unreasonably or disproportionately large load on our infrastructure; or (g) posts,
              stores, transmits, offers, or solicits anything that contains the following, or that you know
              contains links to the following or to locations that in turn contain links to the following: material
              that we determine to be offensive (including material promoting or glorifying hate, violence,
              bigotry, or any entity past or present principally dedicated to such causes or items
              associated with such an entity), (2) material that is racially or ethnically insensitive, or that is
              defamatory, harassing or threatening, (3) pornography or obscene material, and anything
              depicting children in sexually suggestive situations whether or not depicting actual children or
              may be harmful to a minor, (4) any virus, worm, Trojan horse, or other harmful or disruptive
              component, or (5) anything that encourages conduct that would be considered a criminal
              offense, give rise to civil liability, violate any law or regulation or is otherwise inappropriate or
              offensive.

           6. Use Restrictions

              You may not do or attempt to do or facilitate a third party in doing any of the following: (1)
              attempt to decipher, decompile, disassemble, or reverse-engineer any of the software used
              to provide the Services or the App without our prior written authorization, including framing or
              mirroring any part of the App or attempt to reverse-engineer any of the technology used
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              within the Products; (2) circumvent, disable, or otherwise interfere with security-related
              features of the Services or the App or features that prevent or restrict use or copying of any
              content; (3) use the App, Content, or Services in connection with any commercial endeavors
              in any manner, except for the purposes specifically set forth in these Terms; (4) use any robot,
              spider, site search or retrieval application, or any other manual or automatic device or
              process to retrieve, index, data-mine, or in any way reproduce or circumvent the navigational
              structure or presentation of the App; or (5) use the App, Content, or Services in any manner
              not permitted by these Terms.

            7. Intellectual Property

              Mixtiles, its affiliates or its licensors, as the case may be, owns the App and the Services,
              including all worldwide intellectual property rights in the App, and the trademarks, service
              marks, and logos contained therein registered and unregistered. Except as expressly
              permitted herein, you may not copy, further develop, reproduce, republish, modify, alter,
              download, post, broadcast, transmit or otherwise use the App, or the Services. You will not
              remove, alter or conceal any copyright, trademark, service mark or other proprietary rights
              notices incorporated in the App or Services, if any. All trademarks are trademarks or
              registered trademarks of their respective owners. Nothing in these Terms grants you any right
              to use any trademark, service mark, logo, or trade name of Mixtiles or any third party.

              You own the Images you upload to the App and/or Services and all intellectual property rights
              related thereto. Mixtiles will use the Images only for the purposes of providing the Services. For
              the purpose of receiving the Services, and as part thereof the Product(s), you are giving
              Mixtiles the right to use the Images, per the below:

              By submitting or uploading any User Content and/or Images, you grant Mixtiles and its
              successors a worldwide, limited, non-exclusive, royalty-free, perpetual, sublicensable and
              transferable license to use, copy, and print such User Content and/or Images on the
              Product(s).

           8. Copyright

              The policy of Mixtiles is not to infringe upon or violate the intellectual property rights or other
              rights of any third party, and Mixtiles will refuse to use and remove any User Content in
              connection with the App that infringes the rights of any third party. Under the Digital
              Millennium Copyright Act of 1998 (the "DMCA"), Mixtiles will remove any Content (including
              without limitation any User Content) if properly notified of that such material infringes third
              party rights, and may do so at its sole discretion, without prior notice to users at any time. The
              policy of Mixtiles is to terminate the Accounts of repeat infringers in appropriate
              circumstances.

              You are in the best position to judge whether User Content is in violation of intellectual
              property or personal rights of any third-party. You accept full responsibility for avoiding
              infringement of the intellectual property or personal rights of others in connection with User
              Content.



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              If you believe that something appearing on the App infringes your copyright, you may send us
              a notice requesting that it be removed, or access to it blocked. If you believe that such a
              notice has been wrongly filed against you, the DMCA lets you send us a counter-notice.
              Notices and counter-notices must meet the DMCA’s requirements. We suggest that you
              consult your legal advisor before filing a notice or counter-notice. Be aware that there can be
              substantial penalties for false claims. Send notices and counter-notices to us by
              contacting hi@mixtiles.com.

           9. Subscriptions

              Account holders may access the Moments Products via a paid, subscription-based program,
              which, depending on your choice of subscription gives you access to monthly deliveries of our
              Moments Product offering. You will only receive deliveries of the Products while your paid
              subscription is active and subsisting. You may have access to a free, 1-month trial
              subscription, which automatically converts to a paid annual or monthly subscription term
              thereafter based on your selection at the time of sign-up. In such instances, you can disable
              the automatic conversion by following the cancellation instructions set forth in Section 11 prior
              to the date of conversion.

              For the purposes of our monthly and yearly subscriptions, a month constitutes 30 calendar
              days and a year constitutes 365 calendar days.

              Our “Monthly” subscription is paid in monthly installments. For each month that your monthly
              subscription is active, you acknowledge and agree that Mixtiles is authorized to charge the
              same credit card as was used for the initial subscription fee or other Payment Method (as
              defined below) as set forth in Section 10. The monthly renewal subscription fees will continue
              to be billed to the Payment Method you provided until cancelled. You must cancel your
              subscription before it renews in order to avoid billing of the next month’s subscription fee to
              the Payment Method you provided. Refunds cannot be claimed for any partial-month
              subscription period.

              Our “Yearly” subscription is paid for by an upfront payment with automatic annual renewals.
              You acknowledge and agree that Mixtiles is authorized to charge the Payment Method used
              for (i) the initial annual subscription fee at the rate secured at the time of purchase; and (ii)
              the non-discounted renewal subscription fee(s). You must cancel your subscription before it
              renews in order to avoid billing of the renewal subscription fee to the Payment Method you
              provided. Refunds cannot be claimed for any partial subscription period.

              Accounts and subscriptions are not transferable and therefore you agree to not sell, transfer,
              or exchange Accounts or subscriptions in any way or under any circumstance, including for
              commercial purposes. This expressly applies to any discounted, subsidized, or free Accounts
              or subscriptions.

          10. Promotional Codes and Sales

              Mixtiles may from time to time offer promotional codes, seasonal sales and other discounted
              Service and/or subscription options (collectively, the “Promotions”). Additional terms may
              apply to these Promotions (collectively, “Promotional Terms”). You agree that you will review

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              such Promotional Terms and that you are free to decide whether or not to accept such
              Promotional Terms, but accepting such Promotional Terms, is required for you to avail yourself
              of the related Promotions and selecting and using such Promotions will be deemed as your
              express acceptance of such Promotional Terms.

              Any promotion code or offer provided by us may not be used in conjunction with any other
              promotion code or offer, past or present, except where expressly stated otherwise.
              Introductory offers are only available to new users of the Services, except where expressly
              stated otherwise. Previous users or trial users of the Services do not qualify as new users.
              Unless otherwise set forth in the terms of any promotion, all pricing promotions or discounts
              will apply to the initial period of the subscription, and any renewals will be charged at the non-
              discounted rate for the type of subscription purchased.

           11. Fees and Payment

              In connection with your purchase of a Product or other Products through the Services, you will
              be asked to provide customary billing information such as name, billing address and credit
              card information either to Mixtiles or its third-party payment processor(s) (the “Payment
              Method”). You agree to promptly notify Mixtiles of any changes to the Payment Method you
              provided while any subscriptions remain outstanding. In the course of your use of the Services,
              Mixtiles and its Payment Processor (as defined below) may receive and implement updated
              credit card information from your credit card issuer in order to prevent your subscription from
              being interrupted by an outdated or invalid card. This disbursement of the updated credit
              card information is provided to Mixtiles and Mixtiles’s Payment Processor at the sole election
              of your credit card issuer. Your credit card issuer may give you the right to opt-out of the
              update service. Should you desire to do so, please contact your credit card issuer.

              You agree to pay Mixtiles the Fee(s) as set forth in the App during the purchase process for
              any confirmed transactions made in connection with your account in accordance with these
              Terms by one of the methods described on the App. Our obligation to provide the Services
              and Products only comes into being when you provide your Payment Method to enroll for one
              of the above-mentioned subscription options in the App (your “Order”), and we confirm your
              subscription purchase to you either in-App or by email. Please quote the Order number or
              date, as applicable, in all subsequent correspondence with us. You agree not to hold us
              responsible for banking charges incurred due to payments on your Account. If payment is not
              received by us from the Payment Method you provided, you agree to pay all amounts due
              upon demand by us. You are responsible for all applicable fees and charges incurred,
              including applicable taxes, and all subscriptions purchased by you.

              You hereby authorize the collection of such amounts by charging the credit card provided,
              either directly by Mixtiles or indirectly, via a third-party online payment processor (the
              “Payment Processor”) or by one of the payment methods described on the App. If you are
              directed to a Payment Processor(s), the processing of payments will be subject to terms,
              conditions and privacy policies governing use of that third party's service and that third
              party's Personal Data collection practices, in addition to this Agreement. Please review such
              terms and conditions and privacy policy before using the Services. We are not responsible for
              errors made by the Payment Processor. By making a subscription selection, you also agree to

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              pay any applicable processing fees. We reserve the right to correct any errors or mistakes
              that the Payment Processor makes even if it has already requested or received payment.

              Except as expressly provided herein, fees are non-refundable.

          12. Cancellation of Services

              If you purchase your subscription via a third party app provider, you may cancel your
              subscription (or renewal thereof) at any time solely via the same app provider, pursuant to
              the cancellation policies of such third party app provider. For subscriptions purchased via our
              App, you may cancel a monthly or annual subscription at any time by emailing us at
              moments@mixtiles.com or messaging us via our secure message option. You will not receive a
              refund for the fees you already paid for your current subscription period and you will continue
              to receive the Services ordered through the end of your paid subscription period.

              We may suspend or terminate your use of the Products at any time as a result of your fraud or
              breach of any obligation under these Terms. Such termination or suspension may be
              immediate and without notice. A breach of these Terms, includes without limitation, the
              unauthorized copying, resale or attempted copying or resale of the Products.

          13. Refunds

              We want you to be happy with your Product(s). If we made a mistake in preparing your
              Product(s) or if they have arrived damaged, we will be more than happy to provide a refund.
              Of course, if you’ve made a mistake in ordering or just changed your mind, then, subject to
              applicable law, your order would not be eligible for a refund.

              If you would like to request a refund, feel free to contact us through the chat feature of the
              App, by emailing us at hi@mixtiles.com, or by sending a written request to our address at
              Ahad Ha'Am 54, Tel Aviv-Yafo, Israel 6520216. If the reason you would like a refund is that the
              Product(s) you received were not printed correctly or there is some other damage, it would be
              helpful if you would include a picture of the Products along with your request.

          14. Third Party Applications and Services

              Portions of the App and/or Services may involve linking to or using web sites belonging to third
              parties. The App may also provide you with links to access the sites of third-party vendors
              including, without limitation, for the purpose of reviewing or using their services. We have no
              control over third-party sites and/or mobile applications, and all use of third-party sites
              and/or mobile applications and services is at your own risk. Additionally, Mixtiles cannot
              accept responsibility for any payments processed or submitted through such third-party sites
              and/or mobile applications, or for the privacy policies of any such sites. Mixtiles is not
              responsible for content or services available by means of such sites and/or mobile
              applications. Mixtiles does not endorse any products or services offered by third parties and
              we urge our users to exercise caution in using third-party sites.

          15. Disclaimers and Disclaimer of Warranty



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              Your use of the App, Services and Products(s) is at your sole discretion and risk. The App,
              content thereof (including User Content), Services and Products are provided on an "AS IS"
              and "AS AVAILABLE" basis without warranties of any kind. While we make reasonable efforts
              to print the Images on the Product(s) as similar to the Image provided by you through the App
              as possible, we do not make any warranties or representations in respect thereof. We do not
              represent or warrant that Product(s) will be useful for your needs.

              TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, WE EXPRESSLY DISCLAIM ALL
              WARRANTIES OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY, RELATING TO: (A) THE APP,
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              LIMITATION THE WARRANTIES OF TITLE, MERCHANTABILITY, FITNESS FOR A PARTICULAR
              PURPOSE, NON-INFRINGEMENT OF PROPRIETARY RIGHTS, COURSE OF DEALING OR
              COURSE OF PERFORMANCE. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
              WE DISCLAIM ANY WARRANTIES, EXPRESS OR IMPLIED, (I) REGARDING THE SECURITY,
              ACCURACY, RELIABILITY, TIMELINESS AND PERFORMANCE OF THE APP AND SERVICES; OR
              (II) THAT THE APP AND SERVICES WILL BE ERROR-FREE OR THAT ANY ERRORS WILL BE
              CORRECTED; OR (III) REGARDING THE PERFORMANCE OF OR ACCURACY, QUALITY,
              CURRENCY, COMPLETENESS OR USEFULNESS OF ANY INFORMATION PROVIDED BY THE
              APP AND SERVICES; (B) ATTACHING, STICKING AND/OR RE-STICKING THE PRODUCTS. THE
              FOREGOING EXCLUSION OF WARRANTIES SHALL NOT EXTEND TO ANY GROSS
              NEGLIGENCE OR WILLFUL MISCONDUCT OF MIXTILES.

              We take no responsibility for the quality of the Product(s) or the use thereof by you or any
              other third party, nor do we take any responsibility for the transport of the Product(s) and/or
              the state in which the Product(s) will arrive at the address provided by you during the
              registration process and/or any damage that may occur if you choose to attach, stick and/or
              re-stick the Product(s) on any surface and/or any other (physical) damage of any kind
              caused due to the Products, the attachment or detachment thereof by you or anyone else on
              or from any surface. No advice or information, whether oral or written, obtained by you from
              us, shall create any warranty not expressly stated in these Terms. If you choose to rely on such
              information, you do so solely at your own risk. Some states or jurisdictions do not allow the
              exclusion of certain warranties. Accordingly, some of the above exclusions may not apply to
              you. Check your local laws for any restrictions or limitations regarding the exclusion of implied
              warranties.

          16. Limitation of Liability

              We assume no responsibility for any error, omission, interruption, deletion, defect, delay in
              operation or transmission, communications line failure, theft or destruction or unauthorized
              access to, or alteration of, any Content or Services, quality, attachment or detachment of the
              Product(s) and the quality of the printed Image on the Product(s). We are not responsible for
              any problems or technical malfunction of any telephone network or lines, computer online
              systems, servers or providers, computer equipment, software, failure of any email due to
              technical problems or traffic congestion on the Internet or on any of the App or Services or
              combination thereof, including any injury or damage to you or to any person's cellular phone
              or computer related to or resulting from participation or downloading materials and/or
              uploading of the Image(s) in connection with the App or Services. Under no circumstances

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              shall we be responsible for any loss or damage, including personal injury or death, resulting
              from use of the App or Services, from any Content posted on or through the App or Services,
              or from the conduct of any users of the App or Services, whether online or offline.

              IN NO EVENT SHALL WE OR ANY OF OUR OFFICERS, DIRECTORS, EMPLOYEES, ASSIGNEES
              OR AGENTS BE LIABLE TO YOU FOR ANY DAMAGES WHATSOEVER, INCLUDING WITHOUT
              LIMITATION INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, OR CONSEQUENTIAL DAMAGES,
              ARISING OUT OF OR IN CONNECTION WITH YOUR USE OF THE SITE, APP, SERVICES AND/OR
              PRODUCT(S), INCLUDING BUT NOT LIMITED TO THE QUALITY, ACCURACY, OR UTILITY OF
              THE PRODUCTS PROVIDED AS PART OF OR THROUGH THE APP OR THE SERVICES,
              WHETHER THE DAMAGES ARE FORESEEABLE AND WHETHER OR NOT WE HAVE BEEN
              ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THE FOREGOING LIMITATION OF
              LIABILITY SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW IN THE APPLICABLE
              JURISDICTION AND IN NO EVENT SHALL OUR MAXIMUM CUMULATIVE LIABILITY TO YOU
              UNDER ANY CAUSE(S) OF ACTION (WHETHER IN CONTRACT, TORT OR OTHERWISE)
              EXCEED THE AMOUNT YOU HAVE PAID US IN THE TWELVE MONTHS IMMEDIATELY
              PRECEDING THE APPLICABLE CLAIM OR SERIES OF CLAIMS. THE FOREGOING LIMITATIONS
              OF LIABILITY SHALL NOT EXTEND TO ANY GROSS NEGLIGENCE OR WILLFUL MISCONDUCT
              OF MIXTILES.

          17. Indemnification

              You agree to indemnify, defend, and hold harmless Mixtiles and each of its employees,
              directors, officers, subcontractors and agents, against any and all claims, damages, or costs
              or expenses (including court costs and attorneys’ fees) that arise directly or indirectly from:
              (a) breach of these Terms by you or anyone using your computer, or mobile device (whether
              authorized or unauthorized); (b) any claim, loss or damage experienced from your use or
              attempted use of the App or the Services, including any Image uploaded to the App or
              Services; (c) your violation of any law or regulation or any of your obligations,
              representations, or warranties hereunder; (d) your infringement of any right of any third party;
              and (e) any other matter for which you are responsible hereunder or under applicable law.

          18. Applicable Law; Miscellaneous

              We make no representation that the Site, App, Services or any Products are appropriate or
              available for use in any specific jurisdiction, and in fact access to our Site/App may not be
              legal by certain persons or in certain countries. Those who choose to access our Site/App do
              so at their own initiative and are responsible for compliance with applicable local laws. Except
              as otherwise set forth in the ARBITRATION AGREEMENT, any claim relating to our Site, App,
              Services and/or Products shall be governed by the laws of the State of Israel, without
              reference to any choice of law provisions. You agree that a final judgment in any action or
              proceeding authorized hereunder (i.e., arbitration) shall be conclusive and may be enforced
              in other jurisdictions in any other manner provided by applicable law.

              In the event that any provision of these Terms is held to be unenforceable, such provision shall
              be replaced with an enforceable provision which most closely achieves the effect of the
              original provision, and the remaining terms of these Terms shall remain in full force and effect.
              Nothing in these Terms creates any agency, employment, joint venture, or partnership
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              relationship between you and Mixtiles or enables you to act on behalf of Mixtiles. Except as
              may be expressly stated in these Terms, these Terms constitute the entire agreement between
              us and you pertaining to the subject matter hereof, and any and all other agreements existing
              between us relating thereto are hereby canceled. We may assign and/or transfer our rights
              and obligations hereunder to any third party without prior notice. You shall not assign and/or
              transfer any of your rights or obligations hereunder, and any assignment in violation of the
              foregoing shall be void. No waiver of any breach or default hereunder shall be deemed to be a
              waiver of any preceding or subsequent breach or default. If we are required to provide notice
              to you hereunder, we may provide such notice to the contact details you provided upon
              registration.

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